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                   IN​ ​THE​ ​UNITED​ ​STATES​ ​BANKRUPTCY​ ​COURT
                         FOR​ ​THE​ ​DISTRICT​ ​OF​ ​PUERTO​ ​RICO


  EDGARDO          NICOLAS        MARTINEZ          CASE​ ​NUMBER​ ​16-05934-BKT
  PEREZ
                                                    CHAPTER​ ​13
  DEBTOR(S)
                        Motion​ ​Informing​ ​Amended​ ​Schedules
  TO​ ​THE​ ​HONORABLE​ ​COURT:
          NOW COMES ​EDGARDO NICOLAS MARTINEZ PEREZ, Debtor in the
  above captioned case, through the undersigned counsel very respectfully
  alleges​ ​and​ ​requests:
      1. Debtor has amended Schedule A/B to include accounts receivables and
          watches possessed. Debtor had previously included all his art work in a
          prior​ ​Schedule​ ​A/B.
      2. Schedule I and J are amended to correct tax withholding information and
          update​ ​insurance​ ​premiums​ ​on​ ​properties​ ​subject​ ​to​ ​sale.
      3. Debtor submitted through TEDFA evidence of the value assigned to the
          real properties and the marketing efforts on the properties proposed to be
          sold​ ​in​ ​the​ ​Chapter​ ​13​ ​plan.
      4. Debtor further clarifies that prior to the filing of the bankruptcy petition,
          Debtor solely received Social Security benefits and did not obtain
          employment until after the filing of the bankruptcy petition,
          consequently,​ ​the​ ​means​ ​text​ ​reflects​ ​zero​ ​income.
      WHEREFORE, Debtor requests from this Honorable Court to take notice of
  the​ ​aforementioned​ ​information​ ​with​ ​such​ ​relief​ ​which​ ​is​ ​just​ ​and​ ​proper.


         RESPECTFULLY​ ​SUBMITTED
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        In​ ​San​ ​Juan,​ ​Puerto​ ​Rico​ ​on​ ​this​ ​Wednesday,​ ​June​ ​07,​ ​2017.
         I HEREBY CERTIFY that the foregoing motion has been electronically
  filed through CM/ECF electronic filing system which will serve the same to all
  parties​ ​in​ ​interest.


                                                                   /s/Josué​ ​N.​ ​Torres​ ​Crespo
                                                                          USDC​ ​No.​ ​229805

                                                                               Cond.​ ​Monte​ ​Sur
                                                               180​ ​Ave.​ ​Hostos,​ ​Apt.​ ​SGB-11
                                                                           San​ ​Juan,​ ​PR​ ​00918




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